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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION


UNITED STATES OF AMERICA                             )
                Plaintiff,                           )
                                                     )       No. 14 CR 287-1
                                                     )
               vs.                                   )       Judge Charles Norgle
                                                     )
WARREN BARR, III,                                    )
                 Defendant.                          )

                  MOTION TO WITHDRAW AS APPOINTED COUNSEL

       NOW COMES attorney PATRICK E. BOYLE, appointed counsel for Defendant

Warren Barr, III, and respectfully requests that he be allowed to withdraw as appointed counsel

for the defendant. In support thereof, he states the following:

       1. On July 22, 2015, this Court appointed undersigned counsel, pursuant to the Criminal

Justice Act, to represent the Defendant Warren Barr, III in this case. Since that date,

undersigned counsel has been diligently representing the Defendant, including preparation for

his pending sentencing.

       2. However, the Defendant recently informed undersigned counsel, via email, that he has

retained private counsel and that he no longer wants undersigned counsel to represent him or to

prepare or file any additional pleadings with this Court on his behalf. On that same date,

attorney Michael Leonard confirmed that the Defendant had retained him to represent him and

that he would motion the case up before this Court to seek leave to file his appearance. Attorney

Leonard has done so and the case is currently set on the Court’s motion call for November 30,

2018. Undersigned counsel informed the new retained counsel that he will abide by the

Defendant’s wishes and not file any additional pleadings on behalf of the defendant but that he
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would provide the Defendant with any additional material or pleadings from the government if

he receives any.

       3. Because the Defendant has now retained counsel of his choosing, undersigned counsel

moves to withdraw from the case and requests that his appointment pursuant to the Criminal

Justice Act be terminated.

       WHEREFORE, for the above reasons, counsel respectfully requests leave to withdraw as

defendant’s appointed counsel.

                                                   Respectfully submitted,


                                           By:     s/ Patrick E. Boyle
                                                   By Attorney Patrick E. Boyle




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                                CERTIFICATE OF SERVICE

I, Patrick E. Boyle, an attorney, certify that on November 20, 2018, I electronically filed the
foregoing Motion to Withdraw as Appointed Counsel with the Clerk of the United States
District Court for the Northern District of Illinois, Eastern Division, by using the CM/ECF
system. I certify that all participants in the case are registered CM/ECF users and that service
will be accomplished electronically in accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, LR
5.5 and the General Order on Electronic Case Filing (ECF).

                                                           By:     s/ Patrick E. Boyle
                                                                   PATRICK E. BOYLE
